                    Case 5:97-cr-00003-LGW-BWC Document 2162 Filed 11/02/15 Page 1 of 1
                                                                                                                                          2 Not for Public Disclosure)
AO 247(10/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

                                                                                                                   U., 5. OISTRICf COURT
                                                               UNITED STATES DISTRICT COURT                            SAVANNAH WV.
                                                                            for the                               201 5N0y_2 PH 4. 53
                                                                  Southern District of Georgia
                                                                      Waycross Division
                                                                                                              CLERjt       Jl
                       United States of America                                         )
                                                                                                                  SO. OIS1 OI A.
                                         V.                                             )


                                                                                            Case No: 5:97-CR-00003-33
                                James Conaway                                           )



                                                                                        )   USMNo: 09471-021
Date of Original Judgment:         December 23, 1997                                    )   Vi Bennett
Date of Previous Amended Judgment: N/A                                                  )   Defendant's Attorney
(Use Date of Last Amended Judgment, if any)


                                          Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of         the defendant F1 the Director of the Bureau of Prisons        the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § lB 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.  GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last Judgment
             issued) of         months is reduced to


                                                     (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated December 23, 1997,                             shall remain in effect.
IT IS SO ORDERED.

Order Date:              ML'.                                                                                   Judge's sigure


                                                                                             William T. Moore, Jr.
                                                                                             Judge, U.S. District Court
Effective Date:                                                                              Southern District of Georgia
                          (fdfferent from order date)                                                         Printed name and title
